
In re Hub Enterprises Inc.; — Defendants); applying for writ of certiorari and/or review; to the Court of Appeal, Third Circuit, Nos. CA96-1717, CA96-1718; Office of Workers’ Compensation, District 09, Nos. 96-00424, 96-00482.
The writ is granted in part, and otherwise denied. The ruling of the court of appeal is reversed insofar as it awards to the plaintiffs attorneys fees and penalties. Under the circumstances, the actions of the defendant were not arbitrary and capricious in defending rather than paying the claim. Otherwise, the writ is denied.
KNOLL, J., would grant and docket.
TRAYLOR, J., not on panel.
